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6
                             United States District Court
                              Honorable Wm. Fremming Nielsen
 7

8
     United States,                                    No. 2:21-cr-0001-WFN-1
9
                              Plaintiff,               Motion to Modify Pretrial
10                                                     Release Conditions
           v.                                          (Opposed)
11
     Peter James Yeager,
12                                                     July 8, 2022 at 6:30 p.m.
                              Defendant.               Oral Argument Requested
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 1                                    I.      Introduction

2           Peter Yeager respectfully moves to modify his pretrial release conditions—

 3   specifically, to discharge Special Condition 28 (GPS monitoring and home detention)

4    as no longer necessary to reasonably assure Mr. Yeager’s continued appearance and

 5   public safety. In the alternative, Mr. Yeager requests that Special Condition 28 be

6    modified to simply require him to abide by a curfew, with curfew hours to be set by

 7   Probation to accommodate Mr. Yeager’s work and school schedule.

8                                      II.    Background

9           On January 5, 2021, a grand jury indicted Mr. Yeager for an alleged violation of

10   18 U.S.C. § 844(i). The gist of the charge is that Mr. Yeager walked into the

11   Democratic party headquarters in Spokane, told people he wanted to hurt no one but

12   had a bomb (he didn’t), and asked that staff disseminate a “manifesto” he had

13   written. After the tenants and staff evacuated the building, Mr. Yeager used gasoline

14   to start a fire in a corner of the office. After the incident, multiple witnesses stated it

15   was apparent Mr. Yeager was suffering severe mental illness during the episode.

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 1            Mr. Yeager was arrested on December 9, 2020, federally arraigned on January

2    12, 2021, and initially detained,1 although he was later released on May 4, 2021.2 Mr.

 3   Yeager was originally represented by Steven Hormel. After a conflict, the Court

4    appointed the Federal Defenders to represent Mr. Yeager in mid-December 2021.

 5            Since release, the Court has modified his conditions numerous times,

6    recognizing that Mr. Yeager has a perfect pretrial record. Most notably, he was twice

 7   allowed to transfer supervision to other districts, first to Idaho on July 19, 2021,3 then

8    to the Southern District of California on January 7, 2022.4 As part of his transfer to

9    Idaho, Special Condition 11 (that Mr. Yeager’s mother would act as his third party

10   custodian) was stricken.5 The Court also permitted Mr. Yeager to make a two-day trip

11   to the Western District of Washington for psychiatric testing shortly after his initial

12   release.6 The Court has also considered and denied two motions to modify pretrial

13   release conditions (to permit two hours of outdoor exercise per day7 and to remove the

14
     1ECF No. 13 (Minutes of Initial Appearance/Arraignment); ECF No. 14 (Order Granting Motion
15
     for Detention).
16   2   ECF No. 31 (Order Following Detention Review Hearing).
     3   ECF No. 42 (Order Granting Defendant’s Motion).
17
     4   ECF No. 70 (Order Granting Defendant’s Motions).
18   5   ECF No. 42 (Order Granting Defendant’s Motion).
     6   ECF Nos. 35 (Motion to Modify Release Conditions), 38 (Order Granting Motion).
19
     7   ECF No. 37 (Order Denying Motion).

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 1   GPS monitoring component of Special Condition 288) filed last year during Mr.

2    Hormel’s tenure.

 3            Mr. Yeager has kept busy over his 13 months on pretrial release. He enrolled at

4    North Idaho College to finish the two semesters’ worth of credits he needed to

 5   complete his associate’s degree, attending remotely from California during spring

6    semester and earning an impressive overall GPA of 3.86.9 Seeking more technical

 7   skills, he enrolled in an automotive-technician course at the San Diego College of

8    Continuing Education. He completed part one of this course in early June and is now

9    working to transfer to the biomedical-equipment-technician program at Mira Costa

10   College. The Mira Costa application required passing an entrance exam and

11   interviewing with the program director. He recently received his acceptance letter and

12   will begin these classes on August 1st.

13            Now that Mr. Yeager has moved to Southern California and lives near both

14   parents, he has also assumed familial duties. He lives with his mother in Vista,

15   California, and he helps out with yardwork and contributes to household expenses. His

16   mother is healthy and active for her age (78) but has had some health scares in the

17   past, including severe injuries from a fall in 2020. She anticipates needing surgery for a

18
     8   ECF No. 67 (Order Denying Motion).
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     9   Exhibit A (North Idaho College Transcript and Diploma).

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 1   cervical disc in the near future at which point Mr. Yeager will need to take on more

2    care and household responsibilities.

 3         Meanwhile, his 80-year-old father, Errol Yeager, continues a long battle with

4    lung cancer. Errol has a home health caregiver to handle things like meals and hygiene

 5   but still needs help with errands and maintaining his three-acre horse ranch in Poway.

6    With Probation’s permission, Mr. Yeager began working for his father on April 1st—

 7   about 11 hours per day on Fridays, Saturdays, and Sundays. His ranch work includes

8    duties like animal care, tractor repair, and remodeling an outbuilding into an

9    apartment residence. He helps Errol personally in any way needed. For example, Errol

10   still has a driver’s license and would drive himself, but Mr. Yeager volunteers to drive

11   out of concern that Errol’s health conditions would pose a safety risk. He runs other

12   errands, like picking up Errol’s prescriptions. Besides that, simply spending time

13   together is important. Given his health and age, Errol’s personality can be difficult and

14   has even led to conflicts with the caregiver. Mr. Yeager jokes that he is the “relief

15   pitcher” when the caregiver needs a break; he’s accustomed to his father’s bluster and

16   wants to make sure Errol has company.

17         Mr. Yeager has consistently complied with his pretrial release conditions. He

18   worked with Probation Officer Allie Zekan to get preapproval for school and family

19   matters. He has incurred no pretrial violations to date.


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 1                                    III. Discussion

2           A.       The home detention and GPS conditions have become onerous for
                     Mr. Yeager and unnecessary.
 3
            Mr. Yeager is zealous about his compliance and has established a perfect track
4
     record—if the Court checks the docket, it will see not one pretrial-violation petition
 5
     filed. That perfect record warrants reducing Mr. Yeager’s conditions from home
6
     detention to a simple curfew—a level of restriction that Mr. Yeager has previously
 7
     handled successfully while living in Idaho. In short, now that Mr. Yeager has been
8
     living without issue for months in Southern California, it is time to reduce his
9
     restrictions.
10
            That modification merely reflects the good behavior noted by probation officers
11
     in both Washington and Idaho. When he was supervised in this district, Probation
12
     Officer Phil Casey described Mr. Yeager as “overly compliant.” His Idaho Probation
13
     Officer, Rebecca Thompson, noted having zero issues with him—his transfer to Idaho
14
     was seamless, and Officer Thompson eventually placed Mr. Yeager on a simple
15
     curfew, which caused no problems.
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            His transfer to California was similarly routine. But the defense would like to
17
     highlight a number of scheduling hiccups simply to (1) show the Court how well Mr.
18
     Yeager deals with Probation; and (2) explain why the current level of restriction is
19
     onerous.

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 1         In late April, Mr. Yeager started in-person classes, in addition to weekend work

2    for his father, and the combination led to a more complicated daily schedule. He has

 3   since had three instances where GPS monitoring and his detention restrictions have

4    caused issues (although none were violations).

 5         First, on May 5, 2022, Mr. Yeager received an unexpected call from Probation.

6    Ms. Zekan was out of office, and a substitute officer was covering. The substitute

 7   officer asked Mr. Yeager about his lunch break the day before. He’d forgotten to pack

8    a meal for school and had eaten at a nearby taco shop instead, spending about 20

9    minutes. The substitute officer said she only allowed her supervisees 15 minutes to get

10   take-out meals, never to dine in. (Probation had never given Mr. Yeager such an

11   instruction before.) She notified him she’d be reporting this incident to Ms. Zekan.

12         Second, on May 10th, Ms. Zekan called Mr. Yeager upon her return to the

13   office. She had questions about another report, this time involving a lunch break on

14   May 7th. Mr. Yeager had been out working at his dad’s place; his dad wanted to go to

15   lunch, so Mr. Yeager drove him to a pizza place 15 minutes away. They ate over the

16   course of 45 minutes and returned to the ranch. While Mr. Yeager’s preapproved

17   duties to his father on weekends included transportation (presumably to and from

18   lunch), Mr. Yeager assured Ms. Zekan that if taking Errol to lunch was an issue, he

19   wouldn’t do it anymore. He also explained the previous lunch break incident—that


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 1   the substitute officer’s expectations surprised him, but that he wouldn’t go out for

2    lunch at school again if it was an issue. Ms. Zekan said she’d relay everything to

 3   Probation for the Eastern District of Washington.

4          Finally, Mr. Yeager most recently heard from Probation about his movements

 5   on June 14th. That afternoon, he’d set out to begin part two of the automotive-

6    technician program. As he drove, he mulled over his upcoming school schedule with

 7   excitement, having recently learned he’d passed the entrance exam for Mira Costa

8    College’s biomedical-tech program. If the interview went well, he’d start that program

9    on August 1st. There would be a few days of overlap between his automotive-tech

10   classes and the biomedical-tech program. He’d planned to stay the course with his

11   automotive-tech program in case the biomedical-tech program didn’t accept him. But

12   now that the biomedical-tech program was in reach, he realized the overlap could pose

13   a serious problem.

14         Mr. Yeager depends on G.I. Bill funding for his tuition. His nontraditional

15   academic path, however, has already caused snags in that funding. In early June, his

16   coverage for the San Diego Continuing-Ed tuition was interrupted for administrative

17   reasons—he didn’t fully understand the V.A.’s explanation why, but he surmised it

18   was due to the unusual dates of his automotive tech program (late April to early June),

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 1   or perhaps because his North Idaho College and San Diego coursework overlapped by

2    a few months. But he cannot afford shortfalls in tuition funding.

 3          At any rate, Mr. Yeager began to worry that committing to his San Diego

4    Continuing-Ed course would cause another shortfall. The Mira Costa program is by

 5   far his first choice. But if he attended the first day of his automotive-tech course, he’d

6    be on the hook for tuition in San Diego, even if he forfeited the credits by transferring

 7   to Mira Costa. He decided to turn around and drop the automotive-tech class. On his

8    way home, he stopped briefly for groceries and toothpaste since he was already

9    preapproved to be out for several hours of classes. The next day, Ms. Zekan called

10   him; he explained everything, and she admonished him to notify her of schedule

11   changes. Ms. Zekan did not mention taking any further action.

12          Rightly recognizing these are the most minor of hiccups, Probation has never

13   filed a petition alleging violations. But these hiccups demonstrate just how reliable Mr.

14   Yeager is: he communicates openly with his Probation officers and quickly remedies

15   even minor misunderstandings.

16          These hiccups also show why home detention has become onerous. Mr. Yeager

17   is engaged in school and family responsibilities that necessitate some level of

18   flexibility—and that is the level of flexibility allowed by a curfew, not home detention.

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 1          Most importantly, Mr. Yeager was already placed under a curfew while living

2    in Idaho and has demonstrated he can abide by it. Indeed, Idaho Probation expressed

 3   that Mr. Yeager should not be under GPS monitoring of any kind.10

4           B.     The home-detention and GPS conditions are more restrictive than
                   necessary.
 5
            When fashioning conditions of pretrial release, the Bail Reform Act requires
6
     courts to impose the “least restrictive further condition, or combination of conditions,
 7
     that . . . will reasonably assure the appearance of the person as required and the safety
8
     of any other person and the community.” 18 U.S.C. § 3142(c)(1)(B) (emphasis
9
     added). Courts are permitted to “at any time amend the order to impose additional or
10
     different conditions of release,” including discharge of unnecessary conditions. 18
11
     U.S.C. § 3142(c)(3).
12
            Courts routinely recognize that extended good behavior on pretrial release may
13
     justify reducing restrictions. For example, in United States v. Hutchins, 298 F. Supp. 3d
14
     1205 (E.D. Wis. 2017), both the magistrate and the district court found it appropriate
15
     to discharge pretrial release conditions—twice—based solely on one thing: the
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     defendant’s compliance. The defendant was a British citizen facing various charges for
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     10ECF No. 65 (Motion to Modify) (“Mr. Yeager’s current Probation officer [in Idaho] stated she
19   has had zero issues with Mr. Yeager—in fact, she continues to believe his current GPS-monitoring
     [condition is] unwarranted.”).

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 1   using a malware program to steal personal information. Id. at 1206. The court allowed

2    him pretrial release to reside in Los Angeles under conditions of home detention and

 3   GPS monitoring. Id. Ten days later, the magistrate converted the home detention

4    condition to a curfew; when the government sought review, the district court

 5   affirmed, finding that “Hutchins’ home confinement was essentially punitive” in light

6    of his compliance. Id. Less than two months later, the magistrate discharged the

 7   curfew and GPS monitoring conditions altogether, a decision the district court upheld

8    over government opposition. Id. at 1206-07, 1210. Both courts rejected the

9    government’s argument that mere compliance was insufficient grounds to reduce

10   restrictions, noting that the government’s speculation as to possible flight wasn’t a

11   “cogent argument” showing why the curfew and GPS conditions remained necessary.

12   Id. at 1208-09. “While eliminating curfew and GPS monitoring will undoubtedly

13   reduce the level of scrutiny given to Hutchins’ movements, the government has not

14   satisfactorily explained why these factors require such conditions.” Id. at 1209.

15   Indeed, the defendant had already spent nearly a month without the curfew or GPS

16   monitor in the interim between the magistrate’s decision and the district court’s

17   review; “[n]evertheless, he has not attempted to flee.” Id. at 1207.

18         Both the magistrate and district court based their decisions solely on the

19   defendant’s record of compliance. Id. at 1206-10. Pretrial services acknowledged that


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 1   “such reductions [are] commonplace after a defendant has shown compliance with

2    release conditions.” Id. at 1206 (emphasis added). The district court went further,

 3   reasoning it was obligated to reduce restrictions: reduction was “consistent with the

4    Court’s ongoing obligation under Section 3142(c) to ensure that only the least

 5   restrictive conditions necessary to reasonably assure Hutchins’[s] appearance are

6    employed.” Id. at 1209.

 7         Mr. Yeager has a significantly stronger record of compliance than the record

8    that “obligated” the court to reduce restrictions in Hutchins. The Hutchins courts

9    found 10 days of compliance sufficient to substitute a curfew for home detention, and

10   50 days sufficient to remove the curfew and GPS monitoring entirely. See id. at 1206-

11   07. As of July 6, 2022, Mr. Yeager has notched 428 days of compliance—and across

12   three separate districts. Further, Officer Thompson has already tested Mr. Yeager’s

13   compliance with a basic curfew. As in Hutchins, the Government cannot plausibly

14   argue that stringent location monitoring is necessary to ensure Mr. Yeager’s

15   appearance when he has already demonstrated he poses no greater flight or safety

16   risks under lesser scrutiny. See id. at 1207. Maintaining these conditions would be

17   “essentially punitive,” as in Hutchins, and inconsistent with the Court’s “ongoing

18   obligations” to impose the least restrictive conditions necessary to reasonably assure

19   Mr. Yeager’s appearance and community safety. See id. at 1206, 1209.


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 1            C.     Many new reasons supporting this motion have emerged since the
                     Court last considered this issue.
2
              When this Court last considered Special Condition 28, Mr. Yeager’s motion
 3
     was based on (1) the cost of electronic monitoring and (2) embarrassment from
4
     wearing the monitoring device.11
 5
              In addition to those two reasons, several more arise here:
6
              (3) Mr. Yeager’s now 14-month history of compliance with all pretrial release
 7                  conditions;

8             (4) The positive reports from Probation Officers Phil Casey and Rebecca
                    Thompson regarding Mr. Yeager’s performance on supervision;12
9
              (5) Mr. Yeager’s consistent behavior across two inter-district transfers of
10
                    supervision;
11
              (6) Mr. Yeager’s close family ties (and family obligations) in southern
12                  California;

13            (7) Mr. Yeager’s dependence on veterans’ assistance programs for healthcare

14                  and education funding;

              (8) Mr. Yeager’s commitments to completing his academic programming in
15
                    support of his future career;
16

17
     11   ECF No. 67 (Order Denying Motion).
18   12ECF No. 65 (Motion to Modify) (“[H]is first Probation officer, Phil Casey, told the defense that
     Mr. Yeager was ‘overly compliant,’ calling nearly every day. . . . Mr. Yeager’s current Probation
19   officer [in Idaho] stated she has had zero issues with Mr. Yeager—in fact, she continues to believe
     his current GPS-monitoring [condition is] unwarranted.”).

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 1          (9) The long process Mr. Yeager has undergone to set up counseling
                 appointments through the VA;
2
            (10) Mr. Yeager’s ongoing commitments to sobriety and abiding by the law;
 3
                 and
4
            (11) The waste of Probation’s finite resources in monitoring Mr. Yeager’s daily
 5               routine, when the only notable incidents have concerned lunch breaks and

6                grocery trips.

            D.     No new reasons for denying this motion have emerged since the
 7
                   Court last considered this issue.
8           When this Court last considered Special Condition 28, neither Probation

9    Officer Linda Leavitt nor the Government opposed discharging the GPS monitoring

10   condition.13 When contacted about the instant motion, Officers Leavitt and Zekan

11   stated they would again defer to the Court and the Government. However, the

12   Government has indicated that it now opposes removing the GPS condition.

13          It is unclear why the Government has changed its stance. Its only explanation to

14   defense counsel was that “Mr. Yeager has been charged with a very serious crime, and
15   there is an important need to monitor his whereabouts.” That statement was just as

16   true, if not more true, at the December 2021 hearing, when the Government did not

17   oppose Mr. Yeager’s prior request. That statement was just as true, if not more true,

18

19   13ECF No. 64 (Minutes of Status Hearing, Dec. 15, 2021) (“Government left modification to the
     discretion of the Court. U.S. Probation is not opposed to the modification.”)

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 1   when Mr. Yeager was originally granted pretrial release in March 2021. The Court

2    should not give much weight to the Government’s change of position when its new

 3   position relies on the exact same facts that have been before the Court for months. See

4    Christoffel v. U.S., 196 F.2d 560, 567 (D.C. Cir. 1951) (refusing the government’s

 5   request to revoke bail or add new conditions, because the factual basis for that request

6    contained no new facts suggesting an increased flight risk). And that statement—that

 7   Mr. Yeager is charged with a “serious crime”—is true of virtually everyone charged

8    in federal court. Yet Congress intended the Bail Reform Act to ensure most

9    defendants were released. See U.S. v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991) (only

10   in “rare circumstances should release be denied,” and any “doubts regarding the

11   propriety of release should be resolved in the defendant’s favor”) (emphasis added

12   and citations omitted). The Bail Reform Act itself counsels that the mere allegations in

13   the indictment should be given the least weight. See U.S. v. Motamedi, 767 F.2d 1403,

14   1409 (9th Cir. 1985) (because the defendant has had no chance to investigate the

15   Government’s claims and is presumed innocent, the court must discount “weight of

16   the evidence” as the “the least important of the various factors”). Here, the

17   Government can only point to its charge—it has nothing else. When it comes to

18   detention, Mr. Yeager’s perfect track record across the three districts, lack of

19


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 1   significant criminal history, family ties, and engagement in school and other activities

2    more than warrants modification.

 3          E.     In the alternative, Mr. Yeager requests substitution of a simple
                   curfew.
4
            If the Court does not discharge Special Condition 28 wholesale, Mr. Yeager
 5
     requests in the alternative that Special Condition 28 be replaced with the following
6
     substitute condition:
 7
            (28) CURFEW: The Defendant shall be restricted to his residence between
8
     certain specified curfew hours. U.S. Probation shall determine the specific curfew
9
     hours based on the Defendant’s schedule of employment, academic, and
10
     household/personal activities, including travel time to and from these activities. U.S.
11
     Probation may modify the specific curfew hours as needed to accommodate changes in
12
     the Defendant’s schedule.
13
                                       IV. Conclusion
14
            For the reasons stated above, Mr. Yeager respectfully requests the Court
15
     modify his pretrial release conditions to remove Special Condition 28 entirely or
16
     replace it with a basic curfew.
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 1   Dated: July 6, 2022.
                                   Federal Defenders of Eastern Washington & Idaho
2                                  Attorneys for Mr. Yeager

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 1                                 Service Certificate

2         I certify that on July 6 2022, I electronically filed the foregoing with the Clerk of

 3   the Court using the CM/ECF System, which will notify Assistant United States

4    Attorney Dominique Juliet Park.

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